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          Exhibit F-1
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                                                           PerDiemCo LLC v. NexTraq
                                            PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                            U.S. Patent No. 10,819,809

        This claim chart demonstrates NexTraq’s infringement of U.S. Patent No. 10,819,809 and provides notice of such infringement, by comparing
each element of the asserted claims to corresponding components, aspects, and/or features of the Accused Instrumentalities. These claim charts include
information provided by way of example, and not by way of limitation.
      “Accused Instrumentalities” as used herein refers to herein provide event-based notifications/alerts based on locations of fleets of vehicles,
equipment, objects, drivers, and other assets equipped with sensors or tags (the Assets).
       1. NexTraq offers the following tracking products and services (the Accused Instrumentalities), including but not limited to NexTraq® Fleet
           Tracking solution (https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf), which provides
           data to NexTraq® Web Services (http://www.discretewireless.com/resources/APIReference.pdf) for use in various platforms and solutions
           that support:
       (a) NexTraq®’s Fleet Visibility and             Productivity products, services and solutions which are used for vehicle tracking
           (https://www.nextraq.com/services/vehicle-tracking/), asset tracking https://www.nextraq.com/services/asset-tracking/), geo-fencing and
           mapping (https://www.nextraq.com/services/geofencing-mapping/), real-time alerts (https://www.nextraq.com/services/real-time-alerts/),
           sensors (https://www.nextraq.com/services/sensors/) and integration with third party platforms, solutions and/or applications
           (https://www.nextraq.com/services/integration/);
       (b) NexTraq®      View™       and    NexTraq®       Connect™      mobile     apps   which     are    used    by     mobile    work     force
           (https://www.nextraq.com/services/mobile-apps/);
       (c) NexTraq®         Fleet      Defender      (https://www.nextraq.com/services/fleet-defender/)      and       NexTraq®        Dashcam™
           (https://www.nextraq.com/services/dashcam/) which are used for drive safety;
       (d) NexTraq® Driver ID, which is used for Automatic Driver Assignment (https://www.nextraq.com/services/automatic-driver-assignment/)


       NexTraq “Mobile Tracking Devices” and/or “Mobile Devices” means:
       The Accused Instrumentalities track the Assets, which are attached to or carried by mobile devices, including but not limited to:
       1-Vehicle Trackers Family of products (e.g., VT-2300, VT-3030, VT-2630, VT-3640)
       2-Asset Trackers Family of products (e.g., AT-730, AT-5100)
       3-Trailer Trackers (e.g., TT-2830)
                                                                          1

                                                                                                                                        Exhibit F-1
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                                                           PerDiemCo LLC v. NexTraq
                                            PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                            U.S. Patent No. 10,819,809

       4-GPS Tracking Devices (e.g., LMU26H201-NXT01)
       5-Other GPS and sensor, e.g., temperature sensor, equipped mobile devices.
               The analysis set forth below is based only upon information from publicly available resources regarding the Infringing Instrumentalities.
An analysis of NexTraq’s (or other third parties’) technical documentation, and/or software source code, may assist in fully identifying all infringing
features and functionality. Accordingly, PerDiemCo reserves the right to supplement this infringement analysis once such information is made available
to PerDiemCo. Furthermore, PerDiemCo reserves the right to revise this infringement analysis, as appropriate, upon issuance of a court order construing
any terms recited in the asserted claim.
                Unless otherwise noted, PerDiemCo alleges that NexTraq directly infringes the ’809 patent in violation of 35 U.S.C. § 271(a) by selling,
offering to sell, making, using, and/or importing the Infringing Instrumentalities. The following exemplary analysis demonstrates that infringement.
Unless otherwise noted, PerDiemCo further contends that the evidence below supports a finding of indirect or contributory infringement under 35
U.S.C. §§ 271(b) and/or (c), in conjunction with other evidence of liability under one or more of those subsections. NexTraq makes, uses, sells, imports,
or offers for sale in the United States, or has made, used, sold, imported, or offered for sale in the past, without authority, or induces others to make,
use, sell, import, or offer for sale in the United States, or has induced others to make, use, sell, import, or offer for sale in the past, without authority
products, equipment, or services that infringe claims the ’809 patent, including without limitation, the Accused Instrumentalities.
                Unless otherwise noted, PerDiemCo alleges that each element of each claim asserted herein is literally met through NexTraq’s provision
of the Accused Instrumentalities. However, to the extent that NexTraq attempts to allege that any asserted claim element is not literally met, PerDiemCo
believes and contends that such elements are met under the doctrine of equivalents. More specifically, in its investigation and analysis of the Infringing
Instrumentalities, PerDiemCo did not identify any substantial differences between the elements of the patent claim and the corresponding features of
the Infringing Instrumentalities, as set forth herein. In each instance, the identified feature of the Infringing Instrumentalities performs at least
substantially the same function in substantially the same way to achieve substantially the same result as the corresponding claim element.
         To the extent the chart of an asserted claim relies on evidence about certain specifically identified Accused Instrumentalities, PerDiemCo asserts
that, on information and belief, any similarly functioning instrumentalities also infringes the charted claim. PerDiemCo reserves the right to amend
this infringement analysis based on other products made, used, sold, imported, or offered for sale by NexTraq. PerDiemCo also reserves the right to
amend this infringement analysis by citing other claims of the ’809 patent, not listed in the claim chart, that are infringed by the Accused
Instrumentalities. PerDiemCo further reserves the right to amend this infringement analysis by adding, subtracting, or otherwise modifying content in
the “Accused Instrumentalities” column of each chart.

                                                                             2

                                                                                                                                              Exhibit F-1
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                                                       PerDiemCo LLC v. NexTraq
                                        PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                        U.S. Patent No. 10,819,809



Claim     US Patent        Description of the Infringement
          10,819,809
Indep A          method    NexTraq Fleet Tracking platform is a cloud-based solution for tracking assets using a standard Internet connection. On
  .   executed by one      information and belief, the Accused Instrumentalities use applications, storage, on-demand services, computer networks,
Cl. 1 or more servers,     including servers and databases or other resources that are accessed with the Internet connection through on-premise or
      which          are   another provider's shared cloud computing framework, including servers and databases administered by third parties.
 1-p configured by a       On information and belief, the Accused Instrumentalities use an access identity and management (IAM) services to
      tracking             securely control access to AWS resources used by NexTraq’s cloud-based solution. More specifically, the Accused
      application          Instrumentalities use the IAM to control who is authenticated (signed in) and authorized (has permissions) to use the
      software       for   resources.
      controlling
      conveyance of
      event
      notifications in a
      tracking service,
      the       tracking
      application
      software
      configuring the
      one or more
      servers to track
      locations       of
      mobile objects
      and convey the
      event
      notifications
      based on event       (Source: Page No. 9 of http://www.alltrackusa.com/RTH_user_guide.pdf)
      conditions met at
      the locations of
      the         mobile
                                                                         3

                                                                                                                                 Exhibit F-1
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                                                       PerDiemCo LLC v. NexTraq
                                        PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                        U.S. Patent No. 10,819,809

Claim      US Patent      Description of the Infringement
           10,819,809
       objects, wherein
       the locations of
       the        mobile
       objects        are
 1-p determined based
(cont. on information
  )    received     from
       wireless location
       information
       sources (LISs),
       the       method (Source: Page No. 9 of http://www.alltrackusa.com/RTH_user_guide.pdf)
       comprising:




                           (Source: Page No. 4 of https://www.infotelligent.com/company/verizon-networkfleet/company/3485751 )

                           On information and belief, the Accused Instrumentalities currently use NexTraq’s tracking applications executed by
                           servers of a database management system (DBMS) constituting DBMS Applications (DBMSAs), including NexTraq®
                           Fleet Tracking applications (the Accused Applications), which rely on managed database services used in an on-premise
                           data warehouse solution.

                           On information and belief, NexTraq is re-platforming its Fleet Tracking platform so that the Accused Instrumentalities
                           would transition to using AWS native services such as AWS Relational Database Service (RDS), a managed database
                           service provided by AWS databases (DB) and AWS Redshift, Oracle, MS SQL, etc.
                                                                         4

                                                                                                                                  Exhibit F-1
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                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 10,819,809

Claim    US Patent     Description of the Infringement
         10,819,809




 1-p
(cont.
  )




                       (Source: Page No. 1 of https://employzone.com/job-view/us-ga-atlanta/cloud-data-
                       engineer/dayforcehcm/9505416277?ez_source=alert&ez_campaign=daily-alert&ez_medium=azcs)

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                                                     PerDiemCo LLC v. NexTraq
                                      PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                      U.S. Patent No. 10,819,809

Claim    US Patent     Description of the Infringement
         10,819,809
                       ---------------------------------------------------------------------------------------------------------------------------------------------
                       The Accused Instrumentalities track locations of mobile objects.

                                                               Mobile Objects/Assets/Vehicles identified by OIDs




 1-p
(cont.
  )




                       (Source: Page No. 3 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)

                       The mobile objects/assets/vehicles are associated with mobile tracking devices/mobile devices identified by Hardware
                       Ids that provide mobile object locations using wireless GPS location information sources.




                       (Source: Page No. 2 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)




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                                                                                                                                                   Exhibit F-1
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                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 10,819,809

Claim   US Patent     Description of the Infringement
        10,819,809




                      (Source: Page No. 182 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                      (Source: Page No. 182 of http://www.alltrackusa.com/RTH_user_guide.pdf)

                                                   Mobile Devices Equipped with Location Information Sources
                                                                   7

                                                                                                                Exhibit F-1
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                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 10,819,809

Claim   US Patent     Description of the Infringement
        10,819,809
                      1-Vehicle Trackers Family of products (e.g., VT-2300, VT-3030, VT-2630, VT-3640)
                      2-Asset Trackers Family of products (e.g., AT-730, AT-5100)
                      3-Trailer Trackers (e.g., TT-2830)
                      4-GPS Tracking Devices (e.g., LMU26H201-NXT01)




                      (Source: Page No. 27 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                      (Source: Page No. 1 of https://www.nextraq.com/resource/hvac-companies-win-with-gps-fleet-management/ )




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                                                                                                                                 Exhibit F-1
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                                                   PerDiemCo LLC v. NexTraq
                                    PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                    U.S. Patent No. 10,819,809

Claim   US Patent      Description of the Infringement
        10,819,809




                       (Source: Page No. 2 of https://www.nextraq.com/services/vehicle-tracking/ )




                       (Source: Page No. 3 of https://www.nextraq.com/services/vehicle-tracking/ )


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                                                                                                      Exhibit F-1
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                                                   PerDiemCo LLC v. NexTraq
                                    PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                    U.S. Patent No. 10,819,809

Claim   US Patent      Description of the Infringement
        10,819,809




                       (Source: Page No. 2 of https://www.nextraq.com/services/vehicle-tracking/ )




                       (Source: Page No. 1 of https://www.ebay.com/itm/272838073110)




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                                                                                                       Exhibit F-1
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                                                   PerDiemCo LLC v. NexTraq
                                    PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                    U.S. Patent No. 10,819,809

Claim   US Patent      Description of the Infringement
        10,819,809




                       (Source: Page No. 1 of https://www.nextraq.com/services/asset-tracking/)




                       (Source: Page No. 2 of https://www.nextraq.com/services/asset-tracking/)




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                                                   PerDiemCo LLC v. NexTraq
                                    PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                    U.S. Patent No. 10,819,809

Claim   US Patent      Description of the Infringement
        10,819,809




                       (Source: Page No. 2 of https://www.nextraq.com/services/asset-tracking/)




                       (Source: Page No. 3 of https://www.nextraq.com/services/asset-tracking/)




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                                                     PerDiemCo LLC v. NexTraq
                                      PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                      U.S. Patent No. 10,819,809

Claim   US Patent      Description of the Infringement
        10,819,809




                       (Source: Page No. 1 of https://www.ebay.com/itm/174395543130?chn=ps&norover=1&mkevt=1&mkrid=711-213727-13078-
                       0&mkcid=2&itemid=174395543130&targetid=4580359295528874&device=c&mktype=&googleloc=&poi=&campaignid=437
                       225724&mkgroupid=1228154759183859&rlsatarget=pla-
                       4580359295528874&abcId=9300907&merchantid=51291&msclkid=ac556c89a9351a832f4c0fa25eb06e08 )
                       ---------------------------------------------------------------------------------------------------------------------------------------------
                       The tracking service provided by the Accused Instrumentalities is used for controlling conveyance of event notifications,
                       i.e., alerts.
                                                                               Event Notifications/Alerts




                       (Source: Page No. 148 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                                                                                                                Exhibit F-1
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                                                   PerDiemCo LLC v. NexTraq
                                    PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                    U.S. Patent No. 10,819,809

Claim   US Patent      Description of the Infringement
        10,819,809




                       (Source: Page No. 148 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                       (Source: Page No. 9 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)




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                             PerDiemCo LLC v. NexTraq
              PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                              U.S. Patent No. 10,819,809




  (Source: Page No. 9 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)
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                                                     PerDiemCo LLC v. NexTraq
                                      PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                      U.S. Patent No. 10,819,809

Claim   US Patent      Description of the Infringement
        10,819,809
                       ---------------------------------------------------------------------------------------------------------------------------------------------
                       The servers are configurable to track the mobile object locations for determining occurrences of events that meet event
                       conditions related to the locations of the mobile objects, such as arrivals and departures.

                                                                                    Event Condition




                       (Source: Page No. 1 of https://www.nextraq.com/services/geofencing-mapping/)




                       (Source: Page No. 148 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                                                                           16

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                                                          PerDiemCo LLC v. NexTraq
                                           PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                           U.S. Patent No. 10,819,809

Claim      US Patent        Description of the Infringement
           10,819,809
                            ---------------------------------------------------------------------------------------------------------------------------------------------
                            Locations of the mobile objects are determined based on information received from wireless GPS location information
                            sources (LISs).




                            (Source: Page No. 9 of http://www.alltrackusa.com/RTH_user_guide.pdf)
 1-a    using a first       See 1-p for the tracking service, mobile objects, event notifications, mobile object locations, tracking application
        computing           software, one or more servers, event condition, locations of the mobile objects, and wireless location information sources
        device in a first   (LISs).
        network        of
        computing           NexTraq (or an administrator employed by NexTraq) is identified by an administrator ID code (AID code) to administer
        devices of the      NexTraq’s network of computing devices, which is a first network of computing devices administered under NexTraq’s
        tracking service    first level of administrative privilege for performing one or more first administrative functions using the Accused
        to         cause    Applications to provide corresponding services by the Accused Instrumentalities.
        transmission of a
                                                                                17

                                                                                                                                                     Exhibit F-1
                                                                                                                                                   Page 17 of 47
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                                                        PerDiemCo LLC v. NexTraq
                                         PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                         U.S. Patent No. 10,819,809

Claim       US Patent       Description of the Infringement
           10,819,809
       request         to
       configure      the
       tracking
       application
       software by a
       first
       administrator of
       the       tracking
       service having a
       first
       administrator ID
       included in the
       request, the first
       administrator
       having a first
       level           of   (Source: Page No. 9 of http://www.alltrackusa.com/RTH_user_guide.pdf)
       administrative
       privilege
       including        a
       privilege       to
       define      groups
       and        control
 1-a access            to   (Source: Page No. 1 of https://www.nextraq.com/resource/hvac-companies-win-with-gps-fleet-management/ )
(cont. authorized user
  )    accounts of users    A computing device in NexTraq’s Network, i.e., a first computing device in a first network of computing devices,
       of the tracking      transmits an authentication request containing the AID code for using the IAM, e.g., AWS IAM, to exercise the first
       service in the       level of administrative privilege.
       groups, wherein
       a group has a
       group
                                                                         18

                                                                                                                                        Exhibit F-1
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                                                       PerDiemCo LLC v. NexTraq
                                        PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                        U.S. Patent No. 10,819,809

Claim        US Patent     Description of the Infringement
            10,819,809
         administrator
         who is a user
         having a group
         administrator
         account in the
         tracking service;



                           (Source: Page No. 4 of https://www.infotelligent.com/company/verizon-networkfleet/company/3485751 )




 1-a
(cont.
  )



                                                                        19

                                                                                                                                   Exhibit F-1
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                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 10,819,809

Claim   US Patent      Description of the Infringement
        10,819,809




                       (Source: Page No. 1 of
                       https://signin.aws.amazon.com/signin?redirect_uri=https%3A%2F%2Faws.amazon.com%2Fmarketplace%2Fmanagement%2Fs
                       ignin%3Fstate%3DhashArgs%2523%26isauthcode%3Dtrue&client_id=arn%3Aaws%3Aiam%3A%3A015428540659%3Auser%
                       2Faws-mp-seller-management-
                       portal&forceMobileApp=0&code_challenge=NYKP4aX0wYyyWBOSFoRTm5zPRRoVZqHdO6JW1cv8U2g&code_challenge_me
                       thod=SHA-256)

                                                               20

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                                                     PerDiemCo LLC v. NexTraq
                                      PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                      U.S. Patent No. 10,819,809

Claim   US Patent      Description of the Infringement
        10,819,809
                       ---------------------------------------------------------------------------------------------------------------------------------------------
                       NexTraq’s first level of administrative privilege includes a privilege to define customer groups.
                                                                       Groups identified by Group IDs (GIDs)




                       (Source: Page No. 18 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                       (Source: Page No. 199 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                       -----------------------------------------------------------------------------------------------------------------------------------------------
                       As subscribers of the services provided by the Accused Instrumentalities, the authorized users are employed by customers
                       of NexTraq in different customer groups.


                                                                            21

                                                                                                                                                  Exhibit F-1
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                                                   PerDiemCo LLC v. NexTraq
                                    PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                    U.S. Patent No. 10,819,809

Claim   US Patent      Description of the Infringement
        10,819,809
                                                                           Authorized users




                       (Source: Page No. 207 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                       (Source: Page No. 209 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                                                                    22

                                                                                                   Exhibit F-1
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                                                     PerDiemCo LLC v. NexTraq
                                      PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                      U.S. Patent No. 10,819,809

Claim   US Patent      Description of the Infringement
        10,819,809




                       (Source: Page No. 209 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                       --------------------------------------------------------------------------------------------------------------------------------------------
                       NexTraq’s first level of administrative privilege includes a privilege to control access to the authorized user accounts of
                       the authorized users.

                                                                                Authorized user accounts




                                                                           23

                                                                                                                                               Exhibit F-1
                                                                                                                                             Page 23 of 47
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                                                   PerDiemCo LLC v. NexTraq
                                    PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                    U.S. Patent No. 10,819,809

Claim   US Patent      Description of the Infringement
        10,819,809




                       (Source: Page No. 209 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                     PerDiemCo LLC v. NexTraq
                                      PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                      U.S. Patent No. 10,819,809

Claim   US Patent      Description of the Infringement
        10,819,809




                       (Source: Page No. 14 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                       (Source: Page No. 14 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                       ---------------------------------------------------------------------------------------------------------------------------------------------
                       The customer group defined by NexTraq has a group administrator identified by a group administrator ID who has a
                       group administrator account. NexTraq controls access to the group administrator account of the group administrator of
                       each customer.

                                                                                Administrator Account



                                                                           25

                                                                                                                                                Exhibit F-1
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                                                   PerDiemCo LLC v. NexTraq
                                    PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                    U.S. Patent No. 10,819,809

Claim   US Patent      Description of the Infringement
        10,819,809
                       (Source: Page No. 168 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                       (Source: Page No. 1 of https://www.nextraq.com/terms-and-conditions/ )




                       (Source: https://www.nextraq.com/terms-and-conditions/ )




                       (Source: Page No. 203 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                                                                   Exhibit F-1
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                                                       PerDiemCo LLC v. NexTraq
                                        PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                        U.S. Patent No. 10,819,809

Claim      US Patent       Description of the Infringement
           10,819,809




                           (Source: Page No. 14 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                           (Source: Page No. 14 of http://www.alltrackusa.com/RTH_user_guide.pdf)
 1-b    receiving      an See 1-p for the tracking service, mobile objects, event notifications, mobile object locations, tracking application
        authorization of software, one or more servers, event condition, locations of the mobile objects, and wireless location information sources
        the request from (LISs).
                                                                        27

                                                                                                                                  Exhibit F-1
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                                                         PerDiemCo LLC v. NexTraq
                                          PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                          U.S. Patent No. 10,819,809

Claim        US Patent       Description of the Infringement
            10,819,809
        a          second
        computing            See 1-a for the first computing device, first network of computing devices, request, first level of administrative privilege,
        device     in    a   first administrator, first administrator ID, groups, authorized users, authorized user accounts, group administrator and
        second network       group administrator account.
        of     computing
        devices including    The NexTraq platform uses a second network of computing devices that includes servers of the on-premise data
        one or more          warehouse or AWS, which execute the Accused Applications. As a result, the Accused Applications access a database
        servers              (DB) maintained by an administrator of the on-premise data warehouse or AWS, which is a second administrator of the
        configured by the    second network.
        tracking
        application          An authorization is received in response to the request before NexTraq (or the authenticated administrator employed by
        software        to   NexTraq) exercises the first level of administrative privilege. The authorization is received from a second computing
        access a database    device in the on-premise data warehouse network or the AWS network before allowing the exercise of the first level of
        (DB) maintained      administrative privilege.
        by a second
        administrator of
        the        second
        network       who
        grants access to
        the DB based on
        the transmitted
        first
        administrator ID
        included in the
        request;
 1-c    using the first      See 1-p for the tracking service, mobile objects, event notifications, mobile object locations, tracking application
        level           of   software, one or more servers, event condition, locations of the mobile objects, and wireless location information sources
        administrative       (LISs).
        privilege to 1)
        identify       the
                                                                           28

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                                                         PerDiemCo LLC v. NexTraq
                                          PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                          U.S. Patent No. 10,819,809

Claim       US Patent        Description of the Infringement
            10,819,809
        group by a group     See 1-a for the first computing device, first network of computing devices, request, first level of administrative privilege,
        identification       first administrator, first administrator ID, groups, authorized users, authorized user accounts, group administrator and
        code (ID) in the     group administrator account.
        DB      and     2)
        control access to    See 1-b for the second computing device, second network of computing devices, authorization of request, database and
        the          group   second administrator.
        administrator
        account,             The customer groups are identified in the on-premise data warehouse or the AWS database (DB) by corresponding group
                             IDs (GIDs), such as customer name.
                                                                     Groups identified by Group IDs (GIDs)




                             (Source: Page No. 18 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                                                                                                        Exhibit F-1
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                                                        PerDiemCo LLC v. NexTraq
                                         PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                         U.S. Patent No. 10,819,809

Claim      US Patent        Description of the Infringement
           10,819,809




                            (Source: Page No. 199 of http://www.alltrackusa.com/RTH_user_guide.pdf)
 1-d    granting access     See 1-p for the tracking service, mobile objects, event notifications, mobile object locations, tracking application
        to the group        software, one or more servers, event condition, locations of the mobile objects, and wireless location information sources
        administrator       (LISs).
        account before
        giving a second     See 1-a for the first computing device, first network of computing devices, request, first level of administrative privilege,
        level          of   first administrator, first administrator ID, groups, authorized users, authorized user accounts, group administrator and
        administrative      group administrator account.
        privilege to the
        group               See 1-b for the second computing device, second network of computing devices, authorization of request, database and
        administrator to    second administrator.
        identify, in the
        DB, a sub-group     See 1-c for group identification code (ID).
        within the group
        and a user who is   After access is granted to the group administrator account based on the group administrator ID, a second level of
        a       sub-group   administrative privilege is given to the group administrator to identify a sub-group within the group in the database.
        administrator for
        the     sub-group                                            Second level of administrative privilege
        having a sub-
        group
                                                                          30

                                                                                                                                       Exhibit F-1
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                                                      PerDiemCo LLC v. NexTraq
                                       PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,819,809

Claim       US Patent     Description of the Infringement
           10,819,809
        administrator
        account in the
        tracking service;

                          (Source: Page No. 1 of https://www.nextraq.com/terms-and-conditions/ )




                          (Source: https://www.nextraq.com/terms-and-conditions/ )




                          (Source: Page No. 207 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                                                                      Exhibit F-1
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                                                     PerDiemCo LLC v. NexTraq
                                      PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                      U.S. Patent No. 10,819,809

Claim   US Patent      Description of the Infringement
        10,819,809




                       (Source: Page No. 18 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                       (Source: Page No. 168 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                       ---------------------------------------------------------------------------------------------------------------------------------------------
                       The second administrator uses the second administrative privileges to define sub-groups within a group.

                                                                              Sub-groups within a group



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                                                                                                                                                  Exhibit F-1
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                                                   PerDiemCo LLC v. NexTraq
                                    PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                    U.S. Patent No. 10,819,809

Claim   US Patent      Description of the Infringement
        10,819,809




                       (Source: Page No. 196 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                       (Source: Page No. 196 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                   PerDiemCo LLC v. NexTraq
                                    PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                    U.S. Patent No. 10,819,809

Claim   US Patent      Description of the Infringement
        10,819,809




                       (Source: Page No. 196 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                       (Source: Page No. 197 of http://www.alltrackusa.com/RTH_user_guide.pdf)

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                                                                                                   Exhibit F-1
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                                                     PerDiemCo LLC v. NexTraq
                                      PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                      U.S. Patent No. 10,819,809

Claim   US Patent      Description of the Infringement
        10,819,809
                       ---------------------------------------------------------------------------------------------------------------------------------------------
                       The second administrator uses the second administrative privileges to assign a user as sub-group administrator of the
                       sub-group.
                                                                                Sub-group Administrator




                       (Source: Page No. 197 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                       (Source: Page No. 197 of http://www.alltrackusa.com/RTH_user_guide.pdf)


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                                                     PerDiemCo LLC v. NexTraq
                                      PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                      U.S. Patent No. 10,819,809

Claim   US Patent      Description of the Infringement
        10,819,809




                       (Source: Page No. 197 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                       ---------------------------------------------------------------------------------------------------------------------------------------------
                       The sub-group defined by the group administrator has sub-group administrator identified by a sub-group administrator
                       ID who has a sub-group administrator account.

                                                                        Sub-Group Administrator Account




                                                                           36

                                                                                                                                                Exhibit F-1
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                                                   PerDiemCo LLC v. NexTraq
                                    PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                    U.S. Patent No. 10,819,809

Claim   US Patent      Description of the Infringement
        10,819,809




                       (Source: Page No. 209 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                        PerDiemCo LLC v. NexTraq
                                         PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                         U.S. Patent No. 10,819,809

Claim      US Patent        Description of the Infringement
           10,819,809




                            (Source: Page No. 14 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                            (Source: Page No. 14 of http://www.alltrackusa.com/RTH_user_guide.pdf)
 1-e    granting access     See 1-p for the tracking service, mobile objects, event notifications, mobile object locations, tracking application
        to the sub-group    software, one or more servers, event condition, locations of the mobile objects, and wireless location information sources
        administrator       (LISs).
        account before
        giving a third      See 1-a for the first computing device, first network of computing devices, request, first level of administrative privilege,
        level          of   first administrator, first administrator ID, groups, authorized users, authorized user accounts, group administrator and
        administrative      group administrator account.
        privilege to the
        sub-group
                                                                          38

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                                                        PerDiemCo LLC v. NexTraq
                                         PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                         U.S. Patent No. 10,819,809

Claim       US Patent       Description of the Infringement
           10,819,809
        administrator to    See 1-b for the second computing device, second network of computing devices, authorization of request, database and
        identify one or     second administrator.
        more authorized
        users of the sub-   See 1-c for group identification code (ID).
        group in the DB;
                            See 1-d for second level of administrative privilege, sub-group, sub-group administrator and sub-group administrator
                            account.

                            A third level of administrative privilege is given to the sub-group administrator to identify one or more authorized users
                            of the sub-group
                                                                       Third level of administrative privilege




                            (Source: Page No. 197 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                                                                                                     Exhibit F-1
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                                                     PerDiemCo LLC v. NexTraq
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                                                      U.S. Patent No. 10,819,809

Claim   US Patent      Description of the Infringement
        10,819,809




                       (Source: Page No. 197 of http://www.alltrackusa.com/RTH_user_guide.pdf)

                       ----------------------------------------------------------------------------------------------------------------------------------------------
                       The drivers of the vehicles in the fleet are the authorized users of sub-group.

                                                                            Authorized users of sub-group




                       (Source: Page No. 197 of http://www.alltrackusa.com/RTH_user_guide.pdf)

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                                                         PerDiemCo LLC v. NexTraq
                                          PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                          U.S. Patent No. 10,819,809

Claim      US Patent         Description of the Infringement
           10,819,809




                             (Source: Page No. 197 of http://www.alltrackusa.com/RTH_user_guide.pdf)
 1-f    receiving 1) one     See 1-p for the tracking service, mobile objects, event notifications, mobile object locations, tracking application
        or more event        software, one or more servers, event condition, locations of the mobile objects, and wireless location information sources
        conditions     for   (LISs).
        occurrence of a
        group event that     See 1-a for the first computing device, first network of computing devices, request, first level of administrative privilege,
        is     met      at   first administrator, first administrator ID, groups, authorized users, authorized user accounts, group administrator and
        determined           group administrator account.
        locations of a
        first      mobile    See 1-b for the second computing device, second network of computing devices, authorization of request, database and
        object and a         second administrator.
        second mobile
        object and 2) an     See 1-c for group identification code (ID).
        access list that
        identifies one or    See 1-d for second level of administrative privilege, sub-group, sub-group administrator and sub-group administrator
        more recipients      account.
        of    an    event
        notification after   See 1-e for third level of administrative privilege and authorized users of sub-group.
        the group event
        occurs; and          An event condition, such as arrival /departure, is received for occurrence of a group event that is met at determined
                             locations of the first mobile object and the second mobile object.
                                                                           41

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                                                     PerDiemCo LLC v. NexTraq
                                      PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                      U.S. Patent No. 10,819,809

Claim   US Patent      Description of the Infringement
        10,819,809

                                                                                       Group Event




                       (Source: Page No. 1 of https://www.nextraq.com/services/geofencing-mapping/)




                       (Source: Page No. 148 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                       ---------------------------------------------------------------------------------------------------------------------------------------------
                       Also received is an access list that identifies one or more recipients of alerts after the group event occurs.
                                                                                        Access List
                                                                            42

                                                                                                                                                  Exhibit F-1
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                                                   PerDiemCo LLC v. NexTraq
                                    PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                    U.S. Patent No. 10,819,809

Claim   US Patent      Description of the Infringement
        10,819,809




                       (Source: Page No. 9 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)




                       (Source: Page No. 148 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 10,819,809

Claim   US Patent      Description of the Infringement
        10,819,809




                       (Source: Page No. 9 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)
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                                                                                                                            Exhibit F-1
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                                                       PerDiemCo LLC v. NexTraq
                                        PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                        U.S. Patent No. 10,819,809

Claim      US Patent       Description of the Infringement
           10,819,809




                           (Source: Page No. 149 of http://www.alltrackusa.com/RTH_user_guide.pdf)

                           The access list that identifies one or more users who are privileged to be recipients of a notification information, i.e.,
                           alert, when the group event occurs.
 1-g    conveying      the See 1-p for the tracking service, mobile objects, event notifications, mobile object locations, tracking application
        event              software, one or more servers, event condition, locations of the mobile objects, and wireless location information sources
        notifications only (LISs).
        to the one or
        more recipients See 1-a for the first computing device, first network of computing devices, request, first level of administrative privilege,
        on the access list first administrator, first administrator ID, groups, authorized users, authorized user accounts, group administrator and
        after determining group administrator account.
                                                                          45

                                                                                                                                    Exhibit F-1
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                                                       PerDiemCo LLC v. NexTraq
                                        PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                        U.S. Patent No. 10,819,809

Claim       US Patent     Description of the Infringement
           10,819,809
        that the event
        condition is met. See 1-b for the second computing device, second network of computing devices, authorization of request, database and
                          second administrator.

                           See 1-c for group identification code (ID).

                           See 1-d for second level of administrative privilege, sub-group, sub-group administrator and sub-group administrator
                           account.

                           See 1-e for third level of administrative privilege and authorized users of sub-group.

                           See 1-f for group event, first mobile object, second mobile object, access list.

                           For example, the access list can identify fleet managers. In this way, alerts are sent only to the one or more recipients
                           on the access list after determining that the event condition is met.




                           (Source: Page No. 1 of https://www.nextraq.com/services/real-time-alerts/ )




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                                                                                                                                   Exhibit F-1
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                                                         PerDiemCo LLC v. NexTraq
                                          PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                          U.S. Patent No. 10,819,809

 Claim      US Patent        Description of the Infringement
            10,819,809




                             (Source: Page No. 9 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)




                             (Source: Page No. 148 of http://www.alltrackusa.com/RTH_user_guide.pdf)

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For example, the notes and/or cited excerpts, may or may not be supplemented or substituted with different excerpt(s) of the relevant reference(s), as
appropriate. Further, to the extent any error(s) and/or omission(s) exist herein, all rights are reserved to correct the same.




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